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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    :    CASE NO. 22-mj-252
                                                 :
 DAVID KRAUSS,                                   :
 NICHOLAS KRAUSS,                                :    VIOLATIONS:
 RUSSELL DODGE, JR.,                             :    18 U.S.C. § 1752(a)(1)
                                                 :    (Entering and Remaining in a Restricted
                          Defendants.            :    Building or Grounds)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building
                                                 :    or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)


                                     INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, DAVID KRAUSS, NICHOLAS

KRAUSS, and RUSSELL DODGE, JR. did knowingly enter and remain in a restricted building

and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United

States Capitol and its grounds, where the Vice President was and would be temporarily visiting,

without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, DAVID KRAUSS, NICHOLAS

KRAUSS, and RUSSELL DODGE, JR. did knowingly, and with intent to impede and disrupt the

orderly conduct of Government business and official functions, engage in disorderly and disruptive

conduct in and within such proximity to, a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President was and would be temporarily visiting, when and so that such conduct did in

fact impede and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))


                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, DAVID KRAUSS, NICHOLAS

KRAUSS, and RUSSELL DODGE, JR. willfully and knowingly engaged in disorderly and

disruptive conduct within the United States Capitol Grounds and in any of the Capitol Buildings

with the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and

either House of Congress, and the orderly conduct in that building of a hearing before or any

deliberation of, a committee of Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))




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                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, DAVID KRAUSS, NICHOLAS

KRAUSS, and RUSSELL DODGE, JR. willfully and knowingly paraded, demonstrated, and

picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052




                                            By:       _________________________
                                                      Carolina Nevin
                                                      Assistant United States Attorney
                                                      New York Bar No. 5226121




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